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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA, )
)
V. ) No. 21-cr-022 (KBJ) (D.D.C.)
) No. 21-mj-033 (SH) (W.D. Tex.)
CHRISTOPHER RAY GRIDER, )
)
Defendant. )
)
ORDER

For the reasons stated on the record at the Motion Hearing held on February 22,
2021, it is hereby

ORDERED that Christopher Grider is released from Grady County Jail on bond.

DATE: February 22, 2021 Holent BG kt

KETANJI BROWN JACKSON
United States District Judge
